Case 2:05-CV-02041-SHI\/|-tmp Document 84 Filed 08/23/05 Page 1 of 3 Page|D 56

 

IN THE UNITED STATES DISTRICT cOURT F'LED BY __D.C;
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIvIsION 05 AUG 23 AH 6= 52
mM.GOULD
JAMES c. BARBER, SR., CLEH<,U.S._D¥STR§$TC&M
Wl°D OF tit j“W,tPh\l$.`>
Plaintiff,
vs. No. 05-2041-Ma1=

RADIANS, INC., ET AL.,

Defendants.

 

ORDER SETTING STATUS CONFERENCE

 

Before the court is the August 18, 2005, joint request of
the parties for a scheduling/status conference. For good cause
shown, the motion is granted and the court sets this matter for a
telephone status conference on Friday, September 2, 2005, at 9:45

72 day of August, 2005.

M/W

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

It is so ORDERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
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Honorable Samuel Mays
US DISTRICT COURT

